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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
                                   TOPEKA DIVISION

  STATE OF KANSAS, et al.,                           §
                                                     §
          Plaintiffs,                                §
                                                     §
  v.                                                 §
                                                     §    Civil Action No. 5:24-cv-04041-JWB-
  UNITED STATES DEPARTMENT OF                        §    ADM
  EDUCATION, et al.,                                 §
                                                     §
          Defendants.                                §
                                                     §



                    MOTION FOR A STAY / PRELIMINARY INJUNCTION


        Plaintiff States of Kansas, Alaska, Utah, and Wyoming, together with Plaintiffs K.R.,

Young America’s Foundation, Moms for Liberty, and Female Athletes United seek preliminary

relief to prevent irreparable injury from the Defendants’ new rule, Nondiscrimination on the Basis of

Sex in Education Programs or Activities Receiving Federal Financial Assistance, 89 Fed. Reg. 33,474 (Apr.

29, 2024) (to be codified at 34 C.F.R. pt 106) (the “Final Rule”) before it goes into effect August

1, 2024. Plaintiffs respectfully move the Court to postpone the effective date of the Final Rule

under the stay provision of the APA. 5 U.S.C. § 705. They also ask that the Court grant a

preliminary injunction to enjoin the application and enforcement of the Final Rule against them.

        For the reasons discussed in the accompanying memorandum in support of the stay /

preliminary injunction, preliminary injunctive relief should also preclude Defendants from

interpreting, applying, or enforcing Title IX as prohibiting discrimination on the bases of sexual

orientation or gender identity.




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                                        Respectfully submitted this 24th of May, 2024.


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                                 CERTIFICATE OF SERVICE

       This is to certify that on this the 24th day of May, 2024, Plaintiffs’ Motion for a Stay

and/or Preliminary Injunction was electronically filed with the Clerk of the Court by using the

CM/ECF system. Counsel will serve a copy of this motion on the Defendants through the United

States Attorney for the District of Kansas in accordance with F.R.C.P. 4(i)(1)(A)(i) as counsel

for the Defendants have yet to make an appearance in the matter.

                                                                     /s/ Abhishek S. Kambli
                                                                     Abhishek S. Kambli




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